         Case 8:19-bk-00499-CPM                 Doc 25       Filed 03/25/19        Page 1 of 2



                         UNITED STATES BANKRUPTCY COURT
                            MIDDLE DISTRICT OF FLORIDA
                                  TAMPA DIVISION


IN RE:                                                )
                                                      )
TORIANO H PARKER,                                     ) Case No. 19-00499-CPM
                                                      )
                                                      ) Chapter 7
                                                      )

                     Debtor___________


                      AMENDED REPORT AND NOTICE OF
                 INTENTION TO SELL PROPERTY OF THE ESTATE


To: Creditors, Debtors and Parties in Interest

      ______________________________________________________________________________

         ***IMPORTANT NOTICE TO CREDITORS AND ALL INTERESTED PARTIES***
                      OF OPPORTUNITY TO OBJECT AND FOR HEARING

Pursuant to Local Rule 2002-4, the Court will consider the relief requested in this paper without further
notice or hearing unless a party in interest files a response within 21 days from the date set forth on the
attached proof of service, plus an additional three days for service if any party was served by U.S. Mail.

 If you object to the relief requested in this paper, you must file a response with the Clerk of the Court at
801 N. Florida Avenue Suite 555 Tampa, FL 33602-3899 and serve a copy on the movant’s attorney, Traci
K. Stevenson at P.O. Box 86690 Madeira Beach, FL 33738, and any other appropriate persons within the
time allowed. If you file and serve a response within the time permitted, the Court will either schedule and
notify you of a hearing, or consider the response and grant or deny the relief requested without a hearing.

 If you do not file a response within the time permitted, the Court will consider that you do not oppose the
relief requested in the paper, will proceed to consider the paper without further notice or hearing, and may
grant the relief requested.
______________________________________________________________________________

TRACI K. STEVENSON, the Trustee duly appointed and acting for the above captioned
estate reports that she intends to sell on or after 21 days from date of mailing by the
Bankruptcy Court, the following property of the estate of the Debtor, under the terms and
conditions set forth below.

1. Description of Property:                           Non-exempt portion of a 2004 Mercedes
                                                      S430 vin# WDBNG70J84A401717

2. Manner of Sale:                                    Private
         Case 8:19-bk-00499-CPM           Doc 25      Filed 03/25/19   Page 2 of 2




3. Terms of Sale:                               Lump sum payment in the amount
                                                of $1,143.90. The lump sum payment is due
                                                April 22, 2019.
   To:

                                         Toriano H Parker, 4910 5th Street S, Saint
                                         Petersburg, FL 33705,
                                         ,

4. Sale Price:                                  $1,143.90

5. All right, title, and interest of bankruptcy estate, if any.

6. Subject to all liens and encumbrances as indicated on schedules, and any unknown
liens, including IRS lien and delinquent taxes. No warranties of no liens. No warranties
of any kind.

In the case of private sales only, the Trustee will entertain any higher bids for the
purchase of the assets of the Debtor that the Trustee proposes to sell. Such bids must be
at least $100.00 higher than the sale price. Any higher bid must be received by the
Trustee at the address listed below no later than the close of business 21 days from the
date of mailing.


                               CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that a true and correct copy of the foregoing Report of
Notice to Sell Property of the Estate has been served by regular U.S. Mail or
electronically on the March 25, 2019 to:
U.S. TRUSTEE, 501 Polk St., Ste 1200, Tampa, FL 33602
Debtor, Toriano H Parker, 4910 5th Street S, Saint Petersburg, FL 33705, ,
Debtor’s Atty, Michael A. Ziegler, 2561 Nursery Road, Suite A, Clearwater, FL 33764
Mailing Matrix


                                         /s/ Traci Stevenson_____________
                                           TRACI K. STEVENSON, Trustee
                                           P. O. Box 86690
                                           Madeira Beach, FL 33738
                                           (727) 397-4838
                                           Florida Bar# 942227
                                           Tracikstevenson@gmail.com
